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 Philip M. Guffy                                                  Eric A. Schaffer
 HUNTON ANDREWS KURTH LLP                                         STONECIPHER LAW FIRM
 600 Travis Street, Suite 4200                                    125 First Avenue
 Houston, Texas 77002                                             Pittsburgh, PA 15222
 Tel:    713-220-4200                                             Tel: 412-391-8510
 Email: pguffy@huntonak.com                                       Email: eschaffer@stonecipherlaw.com

     -and-                                                        Counsel to UMB Bank, National
                                                                  Association, as Indenture Trustee
 Paul N. Silverstein
 Brian Clarke
 HUNTON ANDREWS KURTH LLP
 200 Park Avenue
 New York, NY 10166
 Tel: (212) 309-1000
 Email: psilverstein@huntonak.com
        brianclarke@huntonak.com

 Special Counsel to UMB Bank, National
 Association, as Indenture Trustee, and
 Counsel to the Majority Noteholder Group


                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                §
 In re:                                                         § Chapter 7
                                                                §
 GOODMAN NETWORKS, INC.,                                        § Case No. 22-31641 (MVL)
                                                                §
                    Debtor.                                     § Relates to Docket No. 415, 420
                                                                §

           UMB BANK, NATIONAL ASSOCIATION, AS INDENTURE TRUSTEE,
       AND THE MAJORITY NOTEHOLDER GROUP’S SUPPLEMENTAL RESPONSE
            AND OBJECTION TO JOINT MOTION TO COMPEL MEDIATION

             UMB Bank, National Association, as indenture trustee (the “Indenture Trustee”), and the

 Majority Noteholder Group1 (together with the Indenture Trustee, the “Bondholders”), for their


 1
       The Majority Noteholder Group consists of investment advisers or managers of funds that hold (with such
       investment advisers and managers acting on behalf of such holders), or are beneficial holders of, a majority of the
       8% Senior Secured Notes due 2022 issued by Goodman Networks, Inc., and include JLP Credit Opportunity


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 supplemental response and objection to the Response to Trustee’s Notice of Revised Proposed

 Stipulation and Joint Motion to Compel Mediation (the “Mediation Motion”) [Docket No. 415]

 filed by FedEx Supply Chain Logistics and Electronics, Inc. (“FSCLE”) and ARRIS Solutions,

 Inc. (“ARRIS” and together with the FSCLE, the “Objecting Creditors”), respectfully represent:

         1.       The Bondholders filed their initial response and objection to the Mediation Motion

 on October 30, 2027 [Docket No. 420] (the “Objection”). At the time the Objection was filed,

 the Bondholders were not aware that FSCLE had filed the Complaint attached hereto as Exhibit A

 in the United States District Court for the Northern District of Texas (the “Complaint”) on October

 27, 2023.

         2.       In the Objection, the Bondholders represented to the Court that they may well

 consider mediation with respect to other matters in the case if the Objecting Creditors evidence a

 bona fide and genuine interest in reaching a consensual resolution as to those other matters. The

 filing of the Complaint suggests that FSCLE has no intention of reaching a consensual resolution

 of this Chapter 7 case. Instead, FSCLE seeks to divest the Trustee of control of the estate’s causes

 of action and divest this court of jurisdiction with respect to such causes of action.

         3.       In the Complaint, FSCLE, under the guise of an individual RICO action, seeks to

 take full control over estate causes of action in violation of the automatic stay. Moreover, FSCLE

 lays the foundation to collaterally attack any ruling by this Court approving the 9019 Motion.

 FSCLE misrepresents the evidentiary record of the 9019 Hearing in the Complaint in material

 ways. For example, in paragraph 406 of the Complaint, FSCLE states that Prosperity swept the

 3992 Account after becoming “concerned with Goodman Networks’ financial condition and the


     Master Fund Ltd., JLP Credit Opportunity IDF Series Interests of the SALI Multi-Series Fund, L.P., JLP
     Institutional Credit Master Fund LP, Alimco Re Ltd., Marli B. Miller Trust A4, Miller Family Education and
     Medical Trust, Susan F Miller Spousal IRA, Susan F. Miller Spousal Trust A4, DuPont Pension Trust, and Hilltop
     Securities, Inc.
                                                         2
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 potential for a bankruptcy case.” Neither Mr. Bates nor Mr. Montgomery ever testified that

 Prosperity swept the 3992 Account out of concern for a potential Goodman Networks bankruptcy.

 In addition, FSCLE alleges “upon information and belief” that “some or all of the funds used in

 that pay off came from the FSCLE funds”. FSCLE had over six months of discovery and a full

 evidentiary trial to establish that the funds in the 3992 Account belonged to FSCLE and it failed

 to do so. That FSCLE would nonetheless make this allegation to the District Court only proves

 that FSCLE is not acting in good faith and that any mediation with respect to the 9019 Motion

 would be a waste of time and resources.

          4.     Accordingly, the Bondholders further respectfully request that the Court deny the

 Mediation Motion.

 Dated: November 9, 2023
 Respectfully Submitted,

 Philip M. Guffy (TX Bar No. 24113705)               Eric A. Schaffer
 HUNTON ANDREWS KURTH LLP                            STONECIPHER LAW FIRM
 600 Travis Street, Suite 4200                       125 First Avenue
 Houston, Texas 77002                                Pittsburgh, PA 15222
 Tel:    713-220-4200                                Tel: 412-391-8510
 Fax: 713-220-4285                                   Email: eschaffer@stonecipherlaw.com
 Email: pguffy@huntonak.com
                                                     Counsel to UMB Bank, National
  -and-                                              Association, as Indenture Trustee

 /s/ Paul N. Silverstein
 Paul N. Silverstein
 Brian Clarke
 HUNTON ANDREWS KURTH LLP
 200 Park Avenue
 New York, NY 10166
 Tel: (212) 309-1000
 Email: psilverstein@huntonak.com
        brianclarke@huntonak.com

 Special Counsel to UMB Bank, National
 Association, as Indenture Trustee, and
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                                    CERTIFICATE OF SERVICE

         I certify that on November 9, 2023, I caused a copy of the foregoing document to be served
 by the Electronic Case Filing System for the United States Bankruptcy Court for the Northern
 District of Texas and.

                                              /s/ Philip M. Guffy
                                              Philip M. Guffy




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